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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

Jared Goyette, Craig Lassig, Katie
Nelson, Tannen Maury, Stephen                Case No. 20-cv-01302 (WMW/DTS)
Maturen, Chris Tuite, Edward Ou, and
Timothy Evans, and The
Communications Workers of America,
On behalf of themselves and other
similarly situated individuals
                               Plaintiffs,     STIPULATION OF DISMISSAL
                                             WITH PREJUDICE OF PLAINTIFF’S
v.                                            CLAIMS AGAINST DEFENDANT
                                                        KROLL
City of Minneapolis; Minneapolis Chief
of Police Medaria Arradondo, in his
individual and official capacity;
Minneapolis Police Lieutenant Robert
Kroll, in his individual and official
capacity; Hennepin County Sheriff
David Hutchinson, in his individual
and official capacity; John Does 1-10, in
their individual and official capacities,


                             Defendants.



      Pursuant to Fed. R. Civ. P. 41(a), IT IS HEREBY STIPULATED AND AGREED

by Plaintiffs Jared Goyette, Craig Lassig, Katie Nelson, Tannen Maury, Stephen

Maturen, Chris Tuite, Edward Ou, and Timothy Evans, and The Communications

Workers of America, On behalf of themselves and other similarly situated

individuals (“Plaintiffs”) and Defendant Robert Kroll that all of Plaintiffs’ claims

asserted in the above-captioned legal action against Kroll should be DISMISSED
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WITH PREJUDICE, with Plaintiffs and Kroll to bear their own costs, expenses and

attorneys’ fees.




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Dated: March 30, 2023        _/s/ Kevin C. Riach________________________
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